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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 DEALERWING LLC,

                                   Plaintiff,         Case No. 21-cv-06429

           -against-
                                                      COMPLAINT
 JON LERNER,

                                   Defendant.



         Plaintiff Dealerwing LLC, as and for its Complaint, alleges as follows:

                                           INTRODUCTION

         1.         This action stems from the wrongful and improper conduct of Defendant, who has

schemed to pirate away Plaintiff’s customer base and misappropriate Plaintiff’s trade secrets and

confidential information in violation of written agreements and in breach of applicable law.

         2.         Defendant is a former executive and key member of Plaintiff’s team whose

affiliation with Plaintiff has ended, and who has subsequently formed a new business engaged in

direct competition with Plaintiff.

         3.         Upon information and belief, Defendant began his scheme to unlawfully compete

while he was still affiliated with Plaintiff, using the access granted to him to pirate Plaintiff’s trade

secrets and other confidential information, including critical information about Plaintiff’s

customers, pricing, methods of doing business, proprietary databases and customers’ proprietary

databases entrusted in secrecy to Plaintiff, that a competitor could use (and, upon information and

belief, is using) to unlawfully compete with Plaintiff’s business.

         4.         Both before and since his separation from Plaintiff, Defendant has breached his

contractual and other obligations imposed upon him by virtue of agreements and/or the statutory

and common law duties owed to Plaintiff under applicable state and federal statutory and common


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law by virtue of his affiliation with Plaintiff, and the access he had to Plaintiff’s trade secrets and

confidential information,customer goodwill and other valuable business assets.

         5.         Plaintiff is now aware of at least 12 customers that have terminated their business

relationships with Plaintiff, and who are now doing business with Defendant. Plaintiff is also

aware of several other customers who have been contacted by Defendant for the purposes of

soliciting those customers’ business for his own competing venture.

         6.         Through this action, Plaintiff seeks to prevent Defendant from continuing his

wrongful conduct and it also seeks to recover the damages sustained due to said conduct.

                                                 PARTIES

         7.         Plaintiff is a Florida limited liability company with its principal place of business

in Winter Springs, Florida.

         8.         Defendant is an individual who resides in Armonk, New York and is operating his

competing business from that location.

         9.         Defendant has also done business as J. Lerner Assoc. Ltd., a dissolved New York

corporation, and J. Lerner Assoc. Inc., a non-existent entity.

                                     JURISDICTION AND VENUE

         10.        This Court has subject matter jurisdiction over this matter pursuant to § 28 U.S.C.

§ 1331 because this Complaint includes claims for Defendant’s violations of the Defend Trade

Secret Act (“DTSA”), 18 U.S.C. § 1832, et seq.

         11.        Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) because a

significant portion of the events which form the basis of this Complaint arose in the geographical

area which is contained within this District.




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                                      FACTUAL BACKGROUND

         12.        Plaintiff is an automotive marketing company that focuses on direct and digital

marketing tactics for dealership service and sales departments. It has a proven track record of

increasing automotive service department traffic and customer retention on a national level with

multiple Original Equipment manufacturers (“OEMs”) from domestic to imports to luxury brands.

Dealerwing provides customized service marketing solutions and a unique credit score application

for all OEMS, supported by its proprietary software platform.

         13.        Plaintiff has expended, and continue to expend, significant resources to develop

the confidential and trade secret information created in connection with the development of their

business and customer relationships.

         14.        For example, Plaintiff is continually developing new, innovative solutions to meet

customers’ needs. Plaintiff accomplishes this by investing considerable time and resources into

understanding each customer’s business so that they can create customized solutions.

         15.        In order to protect Plaintiff’s trade secret and confidential information, Plaintiff

employs significant measures to protect confidential, proprietary, and trade secret information,

including utilizing non-disclosure agreements that prohibit the use and disclosure of trade secret

or confidential information both during and after affiliation with Plaintiff.

         16.        On August 7, 2015, Defendant, as Vice-President of the NE Region, signed a non-

disclosure agreement that governs the parties’ relationship in respect of trade secrets and

confidential information (the “NDA”). That agreement was signed with Rebuild America Auto

Program, LLC (“RAAP”).

         17.        RAAP and Plaintiff executed an Assignment and Assumption Agreement, effective

January 1, 2018, under which Plaintiff succeeded to all of RAAP’s rights in the Agreement with



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respect to Defendant. Thereafter, Defendant continued to act as Vice-President of Plaintiff and he

remained bound by the terms of the NDA.

         18.        The NDA bars Defendant from usingand/or disclosing trade secret and confidential

information other than for the benefit of Plaintiff.

         19.        Further, Plaintiff password protects its proprietary programs and systems and only

provides access to information on a “need-to-know” basis.

         20.        To the extent Plaintiff’s personnel use personal devices for work purposes, they are

required to access Plaintiff’s computer systems through a secure remote connection.

         21.        Under the NDA, Defendant acknowledged that he would have access to

“Proprietary Information” belonging to Plaintiff, and he agreed that he would not disclose or use

same.

         22.        Defendant agreed further to restrictions on his ability to compete with Plaintiff

following the end of the parties’ relationship. Specifically, Defendant agreed that for a three-year

period he would not, in any manner, represent, provide services, or engage in any aspects of

business that would be deemed similar in nature to Plaintiff’s business for the benefit of himself

or any third party engaged in a similar business, and that he would not solicit any customers for

the same time period.

         23.        Defendant agreed that, if he improperly used or disclosed Proprietary Information,

Plaintiff would sustain irreparable injury not compensable by money damages alone such that

Plaintiff would be entitled to equitable relief.

         24.        The NDA further restricted Defendant’s ability to solicit Plaintiff’s personnel to

leave Plaintiff and engage in a competing venture.




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         25.        Defendant continued to serve as Vice-President of Plaintiff until his resignation on

or about April 30, 2021.

         26.        During Defendant’s employment, he played a vital role as Vice-President including

by virtue of his direct contact with customers to obtain and service their business, by virtue of

which he was privy to all of their needs and requirements and how those needs and requirements

were met utilizing Plaintiff’s trade secrets and proprietary and confidential information.

         27.        Plaintiff has learned that, subsequent to Defendant’s resignation as Vice-President,

Plaintiff has launched his own business which directly competes with Plaintiff’s business in

violation of his obligations under the NDA not to engage in such competition, and on information

and belief Defendant is using Plaintiff’s trade secrets and proprietary information to engage in

such competition successfully.

         28.        Upon learning of Defendant’s improper conduct, Plaintiff caused a cease and desist

letter to be sent to Defendant on or about June 1, 2021.

         29.        Defendant has failed and refused to respond to the cease and desist letter by

committing to discontinue his unlawful conduct and on information and belief his brazen conduct

continues unabated such that additional customers are at risk.

         30.        The cease and desist letter also demanded that Defendant return his company

laptop, which contains Plaintiff’s trade secrets and proprietary information that Defendant is using

improperly to complete with Plaintiff. Defendant has failed and refused to return the laptop and

on information and belief he is using Plaintiff’s information contained thereon to carry out his

unlawful conduct.

         31.        Several former customers have advised Plaintiff that they are terminating their

relationships with Plaintiff and instead becoming customers of Defendant. Defendant could not



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possibly compete for and service those customers without utilizing Plaintiff’s trade secrets and

proprietary information, including Plaintiff’s proprietary databases and customers’ proprietary

databases.

         32.        Upon information and belief, Defendant continues to aggressively target Plaintiff’s

other customers, seeking to capitalize on the relationships formed while employed by Plaintiff,

the goodwill Plaintiff has built with these customers, and the trade secret and confidential

information belonging to Plaintiff.

         33.        Upon Information and belief, Defendant has also violated the NDA by soliciting

Joseph Yurman, an independent contractor who had formerly worked for Plaintiff, with

Defendant, to join him in his competing venture and to violate his own obligations owed to

Plaintiff by doing so. Yurman is subject to contractual restrictions similar to Plaintiff’s that restrict

his ability to utilize Plaintiff’s proprietary information and to engage in a competitive business.

         34.        Defendant and Yurman conspired with each other to engage in Defendant’s

competing venture during the period each was still affiliated with Plaintiff.

                                                  COUNT I

  Misappropriation of Trade Secrets under the Defend Trade Secret Act,18 U.S.C. § 1832, et
                                            seq.

         35.        Plaintiff repeats and re-alleges the allegations set forth in the paragraphs above as

if fully set forth herein.

         36.        As described in detail in the paragraphs above, Defendant has acquired access to

and knowledge of Plaintiff’s trade secrets by virtue of his former affiliation with Plaintiff.

         37.        Plaintiff’s trade secrets include, but are not limited to, customer identities, Plaintiff

created proprietary databases, customer owned databases entrusted to Plaintiff for safekeeping,

and methodologies for servicing auto dealers that derive independent economic value by not being


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available to the general public, could not be originated by another party, and were compiled at

great expense to Plaintiff.

         38.        Competitors and intermediaries such as Defendant can profit from the use and

disclosure of this trade secret information, as Defendant is now doing.

         39.        Plaintiff’s trade secrets are related to a product or service used in or intended for

use in interstate commerce. Plaintiff’s business is national and extends to customers in 23 states.

         40.        Plaintiff has taken reasonable measures under the circumstances to maintain the

secrecy of its trade secrets.

         41.        As set forth at length herein, Defendant has misappropriated Plaintiff’s tradesecrets

by using and disclosing, and/or will continue to use and/or disclose, Plaintiff’s trade secrets to

unjustly benefit himself without Plaintiff’s express or implied consent.

         42.        At the time of the use and disclosure, Defendant knew and/or had reason to know

that Plaintiff’s trade secrets had been derived and acquired through improper means.

         43.        Defendant has engaged in the foregoing conduct intending or knowing that it would

injure and/or harm Plaintiff.

         44.        Defendant’s conduct has been willful and malicious and undertaken with reckless

indifference to Plaintiff’s rights.

         45.        Plaintiff has suffered and will continue to suffer irreparable injury in addition to

monetary damages as a direct and proximate result of Defendant’s conduct in an amount which

cannot be reasonably ascertained at this time.

         46.        Unless enjoined by this Court, Defendant will continue his unlawful actions and

Plaintiff will continue to be irreparably harmed.




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                                                COUNT II

                                            Breach of Contract

         47.        Plaintiff repeats and re-alleges the allegations set forth in the paragraphs above as

if fully set forth herein.

         48.        As set forth in detail above, Defendant entered into a valid and enforceable NDA.

         49.        The NDA is supported by valuable and adequate consideration and was voluntarily

executed by Defendant.

         50.        The restrictions in the NDA were intended to protect Plaintiff’s customer good

will, their substantial relationships with customers,their trade secrets and confidential information,

and other valid business interests. The restrictions are reasonably necessary for Plaintiff’s

protection.

         51.        As set in detail above, Defendant has materially breached (and is actively still

breaching) the NDA and his conduct has been knowing, willing, voluntary, and intended to harm

Plaintiff in its business affairs.

         52.        Plaintiff has suffered and will continue to suffer irreparable injury in addition to

monetary damages as a direct and proximate result of Defendant’s conduct in an amount which

cannot be reasonably ascertained at this time.

         53.        Unless enjoined by this Court, Defendant will continue his unlawful actions and

Plaintiff will continue to be irreparably harmed.




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                                                COUNT III

                    Misappropriation of Trade Secrets under New York Common Law

         54.        Plaintiff repeats and re-alleges the allegations set forth in the paragraphs above as

if fully set forth herein.

         55.        As described in detail in the paragraphs above, by virtue of Defendant’s activity as

Plaintiff’s Vice-President and his having entered in contracts with customers on Plaintiff’s behalf

and being integrally involved in serving those customers, Defendant acquired access to and

knowledge of Plaintiff’s trade secrets by virtue of his integral role as an officer and integral part

of Plaintiff’s team.

         56.        Plaintiff has taken reasonable and appropriate measures under the circumstances

to maintain thesecrecy of its trade secrets.

         57.        As set forth at length herein, Defendant has exploited his fiduciary position with

Plaintiff in order to misappropriate Plaintiff’s tradesecrets and he has used and disclosed, and/or

will continue to use and/or disclose, Plaintiff’s trade secrets to unjustly benefit himself and his

new business without Plaintiff’s express or implied consent and to Plaintiff’s detriment.

         58.        At the time of the use and disclosure, Defendant knew and/or had reason to know

that he had acquired Plaintiff’s trade secrets through improper means.

         59.        Defendant engaged in the foregoing conduct intending or knowing that it would

injure and/or harm Plaintiff.

         60.        Defendant’s conduct has been willful and malicious and undertaken with reckless

indifference to Plaintiff’s rights.

         61.        Plaintiff has suffered and will continue to suffer irreparable injury in addition to

monetary damages as a direct and proximate result of Defendant’s conduct in an amount which

cannot be reasonably ascertained at this time.

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         62.       Unless enjoined by this Court, Defendant will continue his unlawful actionsand

Plaintiff will continue to be irreparably harmed.

                                              COUNT IV
                                Tortious Interference with Contract

         63.       Plaintiff repeats and re-alleges the allegations set forth in the paragraphs above as

if fully set forth herein.

         64.       Plaintiff has entered into contracts with its customers under which the customers

are restricted from working with third parties which provide the same services for up to a year.

         65.       Plaintiff has entered into contracts with personnel such as Yurman under which

such personnel are restricted from using Plaintiff’s trade secrets and proprietary information and

from competing against Plaintiff subsequent to the termination of their affiliation with Plaintiff.

         66.       Defendant has knowingly, intelligently, and maliciously interfered withPlaintiff’s

contracts with its customers by inducing them to contract with him instead of Plaintiff.

         67.       Defendant has knowingly, intelligently, and maliciously interfered with Plaintiff’s

contract with Yurman by inducing him to breach his agreement with Plaintiff by misusing

Plaintiff’s information and to compete with Plaintiff in affiliation with Defendant.

         68.       Defendant’s interference with Plaintiff’s contractual rights has caused Plaintiff to

lose customers and is likely to continue to do so if said conduct continues. In addition, Defendant’s

conduct imperils the confidentiality and secrecy of Plaintiff’s proprietary and confidential

information that, once disseminated to a competitor, will lose its inherent value.

         69.       Plaintiff has suffered and will continue to suffer irreparable injury in addition to

monetary damages as a direct and proximate result of Defendant’s conduct in an amount which

cannot be reasonably ascertained at this time.




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         70.       Unless enjoined by this Court, Defendant will continue his unlawful actions and

Plaintiff will continue to be irreparably harmed.

                                              COUNT V
                       Tortious Interference with Prospective Economic Benefit

         71.       Plaintiff repeats and re-alleges the allegations set forth in the paragraphs above as

if fully set forth herein.

         72.       Plaintiff has undertaken great effort to safeguard its confidential and proprietary

information and trade secrets, and minimize the business disruption caused by employees

interfering with its customers and personnel. Plaintiff developed a reasonable expectation that the

investments it has made in its personnel and the goodwill developed with customers would bear

economic fruit. Plaintiff has maintained longstanding relationships with customers as a result of

the significant efforts Plaintiff has undertaken in this regard.

         73.       Recognizing the great potential and value of Plaintiff’s efforts, Defendant has

purposefully and maliciously interfered with Plaintiff’s ability to realize the economic profits of

its successful business efforts maliciously and using wrongful means as identified hereinabove.

         74.       Upon information and belief, the customers Plaintiff has lost due to Defendant’s

unlawful interference were satisfied with Plaintiff’s services, as evidenced by the fact that many

of the customers had been customers for more than four years, such that the only probable reason

for their having abandoned Plaintiff was Defendant’s interference, as described in detail in the

paragraphs above.

         75.       Plaintiff has suffered and will continue to suffer irreparable injury in addition to

monetary damages as a direct and proximate result of Defendant’s conduct which cannot be

reasonably ascertained at this time.




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         76.       Unless restrained by this Court, Defendant will continue such unlawful actions and

Plaintiff will continue to be irreparably harmed.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in its favor

and grant the following relief:

         a.        A preliminary injunction and permanent injunction:

                   i.     enjoining and restraining Defendant, as well as his agents, employees,

                          employer, or any other individual or entity having knowledge or notice of

                          the Court’s Order fromviolating, or participating in the violation of, any of

                          the terms of the NDA;

                   ii.    enjoining and restraining Defendant, as well as his agents, employees,

                          employer, or any other individual or entity having knowledge or notice of

                          the Court’s Order from contacting, soliciting, attempting to contact or

                          solicit, and/or doing business with any current customer of Plaintiff or any

                          entity that has been a customer of Plaintiff;

                   iii.   enjoining and restraining Defendant, as well as his agents, employees,

                          employer, or any other individual or entity having knowledge or notice of

                          the Court’s Order from utilizing, disclosing or misusing any trade secrets

                          or confidential information belonging to Plaintiff, including, without

                          limitation, customer and prospect lists, marketing, sales and strategic plans,

                          product research, customer purchasing histories, pricing information,

                          product information, product designs, product applications, technical

                          processes, product test and performance results, non-public internal



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                          financial information, and customer files, and databases belonging to

                          customers;

                   iv.    enjoining and restraining Defendant, as well as his agents, employees,

                          employer, or any other individual or entity having knowledge or notice of

                          the Court’s Order from transferring to any third party any trade secrets or

                          confidential information belonging to Plaintiff including, without

                          limitation, customer and prospect lists, marketing, sales and strategic plans,

                          product research, customer purchasing histories, pricing information,

                          product information, product designs, product applications, technical

                          processes, product test and performance results, non-public internal

                          financial information, and customer files, and databases belonging to

                          customers;

                   v.     enjoining and restraining Defendant, as well as his agents, employees,

                          employer, or any other individual or entity having knowledge or notice of

                          the Court’s Order, from soliciting Plaintiff’s employees for employment

                          with Defendant or any other competitor;

                   vi.    enjoining and restraining Defendant, as well as his agents, employees,

                          employer, or any other individual or entity having knowledge or notice of

                          the Court’s Order, from circulating advertisements containing material

                          misrepresentations and omissions;

                   vii.   enjoining and restraining Defendant, as well as his agents, employees,

                          employer, or any other individual or entity having knowledge or notice of




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                           the Court’s Order, from making false, defamatory, and trade libelous

                           statements about Plaintiff and its business;

                   viii.   requiring Defendant, as well as his agents, employees, employer, or any

                           other individual or entity having knowledge or notice of the Court’s Order,

                           to preserve, and not destroy, alter, delete, or relinquish control over to any

                           third party, any and all copies and versions (whether hard copy, native, or

                           electronic) of any documents or electronically-stored information

                           (including but not limited to emails, text messages, communications over

                           social media and any other electronic, typewritten, handwritten, recorded,

                           or printed matter of any kind) relating to the subject matter of this lawsuit;

                   ix.     requiring Defendant, as well as his agents, employees, employer, or any

                           other individual or entity having knowledge or notice of the Court’s Order,

                           to return all of Plaintiff’s property including the laptop with all content

                           intact, and any other computer and any other electronic, computer or

                           storage devices of any kind;

                   x.      requiring Defendant to identify any and all electronic devices that have at

                           any times been used to access the Plaintiff’s trade secrets and proprietary

                           information, and to submit such electronic devices to a vendor of Plaintiff’s

                           choosing, at Defendant’s expense, for a forensic examination aimed at

                           discovering the extent to which the trade secrets have been downloaded,

                           copied, printed, accessed and/or used;




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         b.        An order granting preliminary and permanent injunctive relief in accord with the

paragraphs (a) and (b) above, and as separately may be requested at a preliminary injunction

hearing and any trial;

         c.        An order requiring Defendant to provide an equitable accounting of all revenues,

profits and other considerations received in connection with any business he has done with any of

Plaintiff’s customers;

         d.        An order awarding Plaintiff its actual damages in an amount to be determined at

trial;

         e.        Disgorgement of all profits made by Defendant and all ill-gotten gains received by

Defendant;

         f.        An order awarding Plaintiff pre- and post-judgment interest as allowed by law,as

well as its attorneys’ fees and costs of this action; and

         g.        An order awarding any and all other available damages, including punitive

damages, and such other and further relief as the Court deems just and proper.

Dated: New York, New York
       July 28, 2021

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